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 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )   Case No. CR 07-522 ODW
                                      )
12                   Plaintiff,       )   JUDGMENT AND COMMITMENT ORDER
                                      )   FOLLOWING REVOCATION &
13        v.                          )   REINSTATEMENT OF SUPERVISED
                                      )   RELEASE, AND IMPOSITION OF
14   2. ALI KHALIL ELREDA,            )   SENTENCE
                                      )
15                  Defendant.        )
     ____________________________     )
16
17        On August 30, 2010, the matter came on regularly for hearing
18   on the Petition on Probation and Supervised Release (Citation)
19   filed on July 13, 2010("Petition") and the Petition on Probation
20   and Supervised Release (Amendment) filed August 27, 2010 ("Amended
21   Peition").   Appearing on behalf of the Defendant was Gilbert R.
22   Geilim-Morales, and appearing on behalf of the Government was
23   Assistant United States Attorney Patrick Fitzgerald.        Also present
24   was United States Probation Officer Robert D. Chavez.
25        The defendant, after having been advised of the allegations as
26   contained in the Petition, admitted to the truthfulness of
27   Allegation Nos. One, Two, Three, Four, and Five as contained in the
28   Petition and Amended Petition.
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 1        On September 27, 2010, the Court found the Defendant to have
 2   violated the terms and conditions of Supervised Release as set
 3   forth in the Judgment and Probation/Commitment Order of the United
 4   States District Court for the Central District of California
 5   entered on April 20, 2009. The Court ordered the defendant's
 6   Supervised Release revoked, vacated and reinstated.
 7        On this date, the Court orders that defendant is to be
 8   committed to the custody of the Bureau of Prisons for a period of
 9   eight (8) months, to be served concurrently with the sentences
10   imposed on this date in Case Nos. CR 07-1268-ODW-1 and CR 07-1269-
11   ODW-1.
12        Upon release from imprisonment, the defendant shall be placed
13   on Supervised Release for a period of twenty-eight (28) months, to
14   be served concurrently with the term of supervised release imposed
15   on this date in CR 07-1268-ODW-1 and CR 07-1269-ODW-1; under the
16   terms and conditions set forth in the Judgment and
17   Probation/Commitment Order entered April 20, 2009; and under the
18   following additional terms/conditions:
19   1.   Defendant is required to participate in mental health
20        treatment, which may include evaluation and counseling, until
21        discharged by the treatment provider, with approval of the
22        Probation Officer. The defendant shall pay all or part of the
23        costs of treatment to the treatment provider and submit proof
24        to the Probation Officer. Additionally, it is ordered that
25        defendant shall reside for a period not to exceed one hundred
26        and eighty (180) days in Gateways Residential Reentry Center
27        (community corrections component) as directed by the Probation
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 1         Officer, and shall observe the rules and regulations of the
 2         that facility. The subsistence fee shall be waived.
 3
 4         IT IS SO ORDERED.
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 6   Dated:   September 27, 2010
 7                                    OTIS D. WRIGHT
 8                                    United States District Judge
 9   CC:   USPO
10         U.S. MARSHAL
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